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United States District Court

NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

ROY TRAYLOR §
§

v. § CIVIL ACTION NO. 3:19-CV-0576-S-BH
§

SHANNON SPIVEY and ERIC CONDE §

ORDER ACCEPTING FINDINGS AND RECOMMENDATION
OF THE UNITED STATES MAGISTRATE JUDGE

After reviewing all relevant matters of record in this case, including the Findings,
Conclusions, and Recommendation of the United States Magistrate Judge, in accordance with 28
U.S.C. § 636(b)(1), the Court is of the opinion that the Findings and Conclusions of the
Magistrate Judge are correct and they are accepted as the Findings and Conclusions of the Court.
By separate judgment, the plaintiff's claims against defendant Eric Conde will be DISMISSED
without prejudice sua sponte for failure to comply with Fed. R. Civ. P. 4(m),. |

SO ORDERED.

SIGNED January 11, 2021,

ph rukle—

UNITED STATES DISTRICT JUDGE

 

 

 
